                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF MARYLAND


                                                 )
    UNITED STATES OF AMERICA,                    )
                                                 )
    v.                                           )       Criminal Case No. 22-cr-00007-LKG
                                                 )
    MARILYN J. MOSBY,                            )       Dated: November 17, 2022
                                                 )
          Defendant.                             )
                                                 )

                                      SCHEDULING ORDER
         The hearing to be held on the matters set forth below is RESCHEDULED to Tuesday,
January 17, 2023, at 11a.m., in Courtroom 5C of the Edward A. Garmatz Courthouse, 101
W. Lombard Street, Baltimore, MD: 1

         1.     The Government’s motion for an order pursuant to Local Rules 204 and 603,
                dated September 15, 2022 (ECF No. 120);
         2.     The Court’s Order to Show Cause, dated September 30, 2022 (ECF No. 124); and

         3.     Defendant’s motion to transfer venue, dated October 20, 2022 (ECF No. 129).

         The parties shall adhere to the following time allocations for the presentation of their
respective oral arguments:
         1.     The Government’s motion for an order pursuant to Local Rules 204 and 603.
                Government’s opening argument                   20 minutes
                Defendant’s response                            20 minutes
                Government’s rebuttal, if any                   10 minutes

         2.     Defendant’s motion to transfer venue.
                Defendant’s opening argument                    20 minutes
                Government’s response                           20 minutes
                Defendant’s rebuttal, if any                    10 minutes

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  Due to the unavailability of Courtroom 1A, the Court will provide an overflow space with additional
seating for the public to observe the hearing.
       3.      The Court’s Order to Show Cause.
               Defendant’s Argument                           20 minutes

       To facilitate the presentation of the parties’ oral arguments, the parties are DIRECTED
to notify the Court in writing if they wish to present any portion of their respective oral
arguments under seal, on or before January 10, 2023.
       IT IS SO ORDERED.



                                                   s/ Lydia Kay Griggsby
                                                   LYDIA KAY GRIGGSBY
                                                   United States District Judge




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